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                    UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                          www.flsb.uscourts.gov
                                CHAPTER 13 PLAN (Individual Adjustment of Debts)
                         FOURTH MMM Amended Plan (Indicate 1 , 2 , etc. amended, if applicable)
                                _ Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

DEBTOR: Roberto Uriel                       JOINT DEBTOR: Ileana Uriel                  CASE NO. 15-15338-RAM
Last Four Digits of SS# 5299                   Last Four Digits of SS# 7878

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s)
to pay to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion
not collected will be paid to creditors pro-rata under the plan:
        A.         $ 1,613.58 for months 1 to           10     ;
         B.        $ 1,613.58 for months 11 to          24     ;
         C.        $ 3,803.14 for months 25 to          60       ; in order to pay the following creditors:

Administrative: Attorney's Fee - $7,500.00
       TOTAL PAID $6,000.00 Balance Due $1,500.00: $150.00/month (Months 1 to 10 )

Secured Creditors: [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:

1. US Bank Trust, NA
Address: c/o Caliber Homeloans, Inc.
         P.O. Box 650856
         Dallas, TX 75265-0856
                                                MMM Regular Payment $1,087.22 /month (Months   1 to 24 )*
Account No: 9800827595

2. Village of Doral Sands
   Homeowners Association, Inc.                 Regular Payment $ 210.00 /month (Months         1 to 60 )
   c/o Frank Perez-Siam, P.A.
   7001 S.W. 87th Court
   Miami, FL 33173
   Account No.

3. Internal Revenue Service                    Arrearage: $9,817.77
   PO Box 7346                                 Arrears Payment $ 150.00 /month (Months         11 to 24 )
   Philadelphia, P.A. 19101-7346               Arrears Payment $ 235.68 /month (Months         25 to 60 )**
   Account No. 5299

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT
TO BR 7004 and LR 3015-3.

 Secured Creditor         Description of Collateral      Interest       Plan Payments     Months of Payment   Total Plan Payments
                          And Value of Collateral          Rate
Village of Doral         5433 N.W. 105th Court,
Sands                    Doral, FL 33178                   0%              $0.00                 To ______          $0.00
Homeowners
Association, Inc.
Internal Revenue         5433 N.W. 105th Court,            0%              $0.00                 To ______          $0.00
Service                  Doral, FL 33178


Priority Creditors: [as defined in 11 U.S.C. §507]
1. Internal Revenue Service           Total Due: $56,997.43
                                      Payable: $1,583.26/month (Months 25 to 60)



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  3. State of Florida Agency for Care Admin. Total Due $50,000.00_
                                              Payable $1,388.89 /month (Months _25__ to _60_ )

Unsecured Creditors: Pay $ 5.00 /(Months 1 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:

* The debtor has filed a Verified Motion for Referral to MMM with US Bank Trust, NA (“Lender”), loan number 9800827595, for
real property located at 5433 N.W. 105th Court, Doral, FL 33178. The parties shall timely comply with all requirements of the Order
of Referral to MMM and all Administrative Orders/Local Rules regarding MMM. While the MMM is pending and until the
trial/interim payment plan or the permanent mortgage modification/permanent payment is established by the parties, absent Court
order to the contrary, the debtor has included a post-petition monthly plan payment (a) with respect to the debtor’s homestead, of no
less than the lower of the prepetition monthly contractual mortgage payment or 31% of the debtor’s gross monthly income (after
deducting any amount paid toward HOA fees due for the property) and (b) with respect to income producing property, of no less
than 75% of the gross income generated by such property, as a good faith adequate protection payment to the lender. All payments
shall be considered timely upon receipt by the trustee and not upon receipt by the lender.

Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s proof of
claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearage stated in the
proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to confirmation of the plan or
modified plan.

If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement with
Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later than 14
calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately amend or modify the
plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as applicable.
If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar days
following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect the
settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements necessary to
complete the settlement.

In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately disclose
the financial benefit to the Court and the trustee and amend or modify the plan accordingly.
If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is filed,
the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of Claim) or (b)
provide that the real property will be surrendered. If the amended or modified plan provides that the real property is to be
surrendered, then the obligations to the lender will be considered “treated outside the plan” and the lender shall have in rem relief
from the automatic stay as to the real property being surrendered. Notwithstanding the foregoing, lender may file a motion to
confirm that the automatic stay is not in effect as to the real property.

Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof of
Claim.

**Includes 3% interest

The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an annual basis
during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the Trustee with their filed tax
returns is on or before May 15 of each year the case is pending and that the debtor(s) shall provide the trustee with verification of
their disposable income if their gross household income increases by more than 3% over the previous year’s income.



I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


/s/Sabrina Chassagne, Esq. for                                          /s/Sabrina Chassagne, Esq. for
Debtor: Roberto Uriel                                                   Joint Debtor: Ileana Uriel
Date: 3/3/16                                                            Date: 3/3/16




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